Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 1 of 13



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 18-CIV-80788-RAR

  NYA YANITZA MONTANEZ,
  as Personal Representative of the
  Estate of Yanely Gonzalez, deceased,

         Plaintiff,
  v.

  LIBERTY MUTUAL FIRE INSURANCE
  COMPANY,

        Defendant.
  ________________________________/

       ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         THIS CAUSE comes before the Court on Defendant Liberty Mutual Fire Insurance

  Company’s (“Defendant” or “Liberty Mutual”) Motion for Summary Judgment, filed April 24,

  2019 [ECF No. 35]. At issue is whether Liberty Mutual acted in bad faith when it failed to

  immediately tender its insured’s full per-person policy limit to settle a wrongful death case arising

  from a car accident that resulted in the death of a child and injury to four passengers. Having

  considered the parties’ written submissions, the record, and applicable case law, it is hereby

         ORDERED AND ADJUDGED that Defendant’s Motion for Summary Judgment [ECF

  No. 35] is GRANTED as set forth herein.

                                           BACKGROUND
         The genesis of this litigation occurred on January 30, 2010, when Jason Brown rear-ended

  Nya Yanitza Montanez (“Ms. Montanez”) and her two minor children, Yanely Gonzalez and

  Eduardo Gonazlez, Jr. See Defendant’s Statement of Material Facts (“Def. SOMF”) [ECF No. 34

  at ¶ 2]; Plaintiff’s Statement of Material Facts (“Pl. SOMF”) [ECF No. 46 at ¶ 2]. Because of the

  tragic impact, three-month-old, Yanely Gonzalez, was killed; eight-year-old, Eduardo Gonzalez,
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 2 of 13



  Jr., was ejected from the vehicle, suffering head trauma; and Ms. Montanez was injured. Id. After

  hitting the Gonzalez family, Jason Brown’s vehicle spun into another car occupied by Jose Ramos

  (thirty-eight-years-old) and Maria Carmona (two-years-old), both of whom were also injured. Id.

          On February 1, 2010, Douglas Brown (“Mr. Brown”), Jason Brown’s father, contacted

  Liberty Mutual to report that his son had been involved in an accident in West Palm Beach and

  that a child had been killed. Def. SOMF at ¶ 3; Pl. SOMF at ¶ 3. Jason Brown was driving his

  father’s vehicle at the time of the accident, and Mr. Brown had a Liberty Mutual automobile

  insurance policy, which provided liability limits of $250,000 per person and $500,000 per accident.

  Def. SOMF at ¶¶ 1, 2; Pl. SOMF at ¶¶ 1, 2. Upon learning of the accident, Liberty Mutual assigned

  claims adjuster, Colleen Edwards (“Ms. Edwards”), to the case and sent the insureds “other

  insurance” affidavits and excess exposure letters. Def. SOMF at ¶ 4; Pl. SOMF at ¶ 4. Ms.

  Edwards also requested a police report and ran an internet search, which revealed that in addition

  to the child fatality, the accident had left four others injured and in need of attention at the hospital.

  Def. SOMF at ¶ 5; Pl. SOMF at ¶ 5.

          On February 2, 2010, Ms. Edwards obtained an “events report” from the Palm Beach

  County Sheriff and contacted Mr. Brown to advise him that it would be in his best interest to retain

  counsel. Def. SOMF at ¶¶ 6-8; Pl. SOMF at ¶¶ 6-8. Ms. Edwards also called the Liberty Mutual

  sales department and determined that Jason Brown was not listed on the policy as an additional

  driver, which presented a potential coverage issue, requiring an investigation. Def. SOMF at ¶ 9;

  Pl. SOMF at ¶ 9. As such, Ms. Edwards sent the insureds reservation of rights letters. Id.

          On February 5, 2010, Ms. Edwards spoke to Progressive Insurance, the Personal Injury

  Protection (“PIP”) carrier for Ms. Montanez, and learned, for the first time, that Plaintiff had

  retained Toral, Garcia & Franz as counsel. Def. SOMF at ¶ 10; Pl. SOMF at ¶ 10. That same day,



                                                Page 2 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 3 of 13



  Ms. Edwards called Mr. Toral’s office, but she was advised that she would need to call back later.

  Def. SOMF at ¶ 11; Pl. SOMF at ¶ 11. On February 9, 2010, Ms. Edwards called Plaintiff’s

  attorney’s office for a second time and left a message, requesting a callback, but did not receive

  one. Def. SOMF at ¶ 13; Pl. SOMF at ¶ 13. On February 23, 2010, Ms. Edwards called Plaintiff’s

  attorney for a third time, but she could not reach Plaintiff’s counsel. Def. SOMF at ¶ 18; Pl. SOMF

  at ¶ 18. Ms. Edwards left a message requesting that Plaintiff’s counsel call her back to discuss the

  claim and noting that Liberty had not yet received a letter of representation. Id.

         On March 2, 2010, Ms. Edwards called Plaintiff’s counsel for a fourth time to give counsel

  a status update on the claim; Ms. Edwards’s call was transferred to a voicemail and she left a

  message requesting a call back. Def. SOMF at ¶ 19; Pl. SOMF at ¶ 19. The following day, on

  March 3, 2010, Ms. Edwards called Plaintiff’s counsel for a fifth time and left “an important

  message,” requesting a call back, but did not receive a call. Def. SOMF at ¶ 23; Pl. SOMF at ¶

  23. During the scope of its investigation, Liberty Mutual also communicated with Plaintiff’s PIP

  Adjuster on multiple occasions. Def. SOMF at ¶¶ 10, 25, 32; Pl. SOMF at ¶¶ 10, 25, 32.

         On March 4, 2010, Liberty Mutual sent a letter to counsel for all claimants, stating that

  Defendant was making its full $250,000 per person and $500,000 per accident policy limits

  available to settle the claims arising from the accident. See Letter Dated March 4, 2010 [ECF No.

  34-13]. In addition, Liberty Mutual noted that it would be arranging a settlement conference to

  assist all claimants in reaching an apportioned settlement.1 Id. On that same day, Lewis Jack,

  Esq., called Ms. Edwards and stated that he and Mr. Toral represented Plaintiff. Def. SOMF at ¶

  29; Pl. SOMF at ¶ 29. When Ms. Edwards attempted to give Plaintiff’s counsel the contact


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    The settlement conference was subsequently scheduled for April 8, 2010. See Letter Dated March 17,
  2010 [ECF No. 34-14]. The parties dispute whether Liberty Mutual cleared the April 8, 2010 date with
  Plaintiff’s counsel prior to scheduling the conference. For purposes of summary judgment, the Court
  accepts Plaintiff’s contention that the April 8, 2010 date was not approved by Plaintiff’s counsel.

                                              Page 3 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 4 of 13



  information for Defense counsel, Mr. Jack stated that he would not be needing it. Id. This was

  the first communication to Liberty Mutual from anyone on behalf of Plaintiff. Def. SOMF at ¶ 30;

  Pl. SOMF at ¶ 30.

          On March 31, 2010, Plaintiff’s counsel rejected the opportunity to settle Plaintiff’s

  wrongful death claim on grounds that Defendant should have immediately tendered the $250,000

  policy limit, rather than attempt to settle all claims at a settlement conference. See Letter Dated

  March 31, 2010 [ECF No. 34-15]. The letter also requested that Liberty Mutual tender $125,000

  for Ms. Montanez’s claims and $125,000 for Eduardo Gonzalez Jr.’s claims. Id. On April 6, 2010,

  counsel for Liberty Mutual sent Plaintiff’s counsel a letter, noting that Defendant had issued checks

  to resolve the claims of Ms. Montanez and her son in accordance with Plaintiff’s March 31, 2010

  letter. See Letter Dated April 6, 2010 [ECF No. 34-16]. In addition, the letter noted that because

  Liberty Mutual was settling Ms. Montanez and Eduardo Gonazlez Jr.’s claims, it was able to offer

  the remaining available policy limit of $250,000 to settle and resolve the claim of the Estate of

  Yanely Gonzalez. Id. To that end, on April 8, 2010, Liberty Mutual delivered the two $125,000

  checks to settle Ms. Montanez and her son’s claims.2 Def. SOMF at ¶ 37; Pl. SOMF at ¶ 37.

  Similarly, on April 13, 2010, Liberty Mutual attempted to deliver a check in the amount of

  $250,000 to Plaintiff’s counsel to settle the wrongful death claim, but Plaintiff’s counsel refused

  to accept it. Def. SOMF at ¶ 38; Pl. SOMF at ¶ 38.

          On April 14, 2010, attorney Lewis Jack filed a lawsuit against the Browns on behalf of Ms.

  Montanez and Eduardo Gonzalez (as parents and Personal Representatives of the Estate of Yanely

  Gonzalez and as parents of Eduardo Gonzalez, Jr.), Ms. Montanez individually, and Eduardo

  Gonzalez, individually, asserting a wrongful death claim, two personal injury claims, and a loss of


  2
    Although the settlement of these claims was not effectuated on April 8, 2010, the claims were ultimately
  settled over a year later. See Affidavit of Paul Colandreo [ECF No. 34-11 at ¶ 17].

                                                Page 4 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 5 of 13



  consortium claim. Def. SOMF at ¶ 39; Pl. SOMF at ¶ 39. All claims were eventually dismissed

  except for the wrongful death claim against Jason Brown, which resulted in a consent judgment in

  the amount of $8,250,000. Id.

         On June 15, 2018, Plaintiff Nya Yanitza Montanez, as Personal Representative of the

  Estate of Yanely Gonzalez, filed the instant lawsuit, alleging one count of common law bad faith

  [ECF No. 1]; Plaintiff amended her Complaint on August 14, 2019 [ECF No. 12]. Plaintiff seeks

  damages including, but not limited to, the final judgment against Jason Brown of $8,250,000. On

  April 24, 2019, Defendant filed the instant Motion for Summary Judgment [ECF No. 35].

                                         LEGAL STANDARD

         Summary judgment is appropriate where “the pleadings, depositions, answers to

  interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

  genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter

  of law.” FED. R. CIV. P. 56(c). In making this assessment, the Court “must view all the evidence

  and all factual inferences reasonably drawn from the evidence in the light most favorable to the

  nonmoving party,” Stewart v. Happy Herman’s Cheshire Bridge, Inc., 117 F.3d 1278, 1285 (11th

  Cir. 1997) (citation omitted), and “must resolve all reasonable doubts about the facts in favor of

  the non-movant,” United of Omaha Life Ins. Co. v. Sun Life Ins. Co. of Am., 894 F.2d 1555, 1558

  (11th Cir. 1990) (citation omitted).

         The movant’s initial burden on a motion for summary judgment “consists of a

  responsibility to inform the court of the basis for its motion and to identify those portions of the

  pleadings, depositions, answers to interrogatories, and admissions on file, together with the

  affidavits, if any, which it believes demonstrate the absence of a genuine issue of material fact.”

  Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993) (alterations and internal quotation



                                              Page 5 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 6 of 13



  marks omitted) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). Once the moving party

  has shouldered its initial burden, the burden shifts to the non-moving party to “‘set forth specific

  facts showing that there is a genuine issue for trial,’ not just to ‘rest upon the mere allegations or

  denials of the adverse party’s pleading.’” United States v. Lawrence, 276 F.3d 193, 197 (5th Cir.

  2001) (quoting Resolution Trust Corp. v. Camp, 965 F.2d 25, 29 (5th Cir. 1992)).

         Plaintiff’s First Amended Complaint asserts a single cause of action for common law bad

  faith [ECF No. 12]. The Court, sitting in diversity jurisdiction, applies the substantive law of the

  forum state, Florida. See Mesa v. Clarendon Nat. Ins. Co., 799 F.3d 1353, 1358 (11th Cir. 2015).

  Florida law requires an insurance company to negotiate and settle claims against an insured in

  good faith. See Harvey v. GEICO Gen. Ins. Co., 259 So. 3d 1, at *3 (Fla. 2018). In determining

  whether an insurer has acted in good faith, the totality of the circumstances are considered. See

  Berges v. Infinity Ins. Co., 896 So. 2d 665, 680 (Fla. 2004).

         The critical inquiry in evaluating a bad faith claim is “whether the insurer diligently, and

  with the same haste and precision as if it were in the insured’s shoes, worked on the insured’s

  behalf to avoid an excess judgment.” Harvey, 259 So.3d 1, at *7. An insurer is required to advise

  the insured of settlement opportunities, the probable outcome of litigation, the possibility of excess

  judgment, and any steps the insured may take to avoid excess judgment. Boston Old Colony Ins.

  Co. v. Gutierrez, 386 So. 2d 783, 785 (Fla. 1980) (internal citation omitted). An insurer must also

  “investigate the facts, give fair consideration to a settlement offer that is not unreasonable under

  the facts, and settle, if possible, where a reasonably prudent person, faced with the prospect of

  paying the total recovery, would do so.” Boston Old Colony, 386 So. 2d at 785. “Where liability

  is clear, and injuries so serious that a judgment in excess of policy limits is likely, an insurer has

  an affirmative duty to initiate settlement negotiations.” Powell v. Prudential Property & Casualty



                                               Page 6 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 7 of 13



  Ins., 584 So. 2d 12, 14 (Fla. 3d DCA 1991). A delay in settlement negotiations which is willful

  and without reasonable cause may result in a bad faith inference. Id.

          Although the issue of bad faith liability is ordinarily a question reserved for the jury, Florida

  appellate courts have resolved bad faith claims on the pleadings where, as a matter of law, the

  undisputed facts preclude a reasonably jury from concluding that an insurer acted in bad faith. See

  Clauss v. Fortune Ins. Co., 523 So. 2d 1177, 1178 (Fla. 5th DCA 1988); Caldwell v. Allstate Ins.

  Co., 453 So. 2d 1187, 1190 (Fla. 1st DCA 1984); RLI Ins. Co. v. Scottsdale Ins. Co., 691 So. 2d

  1095, 1096 (Fla. 4th DCA 1997); see also Berges, 896 So. 2d at 680 (noting the Florida Supreme

  Court and Florida district courts have, in certain circumstances, affirmed the granting of summary

  judgment on the issue of bad faith). Consistent with Florida’s courts, the Eleventh Circuit has also

  held that summary judgment is appropriate where, as a matter of law, an insurance company cannot

  be found liable for bad faith. See Daniels v. GEICO Gen. Ins. Co., 740 F. App’x 665, 671 (11th

  Cir. 2018); Mesa, 799 F.3d at 1360; Valle v. State Farm Mut. Auto. Ins. Co., 394 F. App’x 555,

  557 (11th Cir. 2010); Johnson v. Geico Gen. Ins. Co., 318 F. App’x 847, 851 (11th Cir. 2009).

                                               ANALYSIS
          Liberty Mutual contends that no reasonable juror could find Defendant acted in bad faith

  in handling Plaintiff’s wrongful death claim. Plaintiff counters that Liberty Mutual’s decision to

  pursue a global settlement conference, rather than immediately tender the $250,000 per person

  liability limits to settle Plaintiff’s wrongful death claim, constitutes bad faith under Florida law.

  Specifically, Plaintiff advances that Liberty Mutual had an obligation to settle the most egregious

  claim—the wrongful death claim—before apportioning the remainder of the policy. Plaintiff’s

  cabined conception of Florida’s bad faith jurisprudence, however, is not supported by the case law

  in this State, or this District.



                                                Page 7 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 8 of 13



         Under Florida law, “an insurer—acting with diligence and due regard for its insured—is

  allowed a reasonable time to investigate a claim[.]” Johnson, 318 F. App’x at 851. As such, an

  insurer need not immediately tender its policy limits, nor accept a settlement offer without time

  for investigation. Id. In this case, approximately one month elapsed between February 1, 2010

  (when Liberty Mutual first learned of the accident) and March 4, 2010 (when Defendant offered

  all claimants its full policy limits). In that time span, Liberty Mutual investigated a potential

  coverage issue, obtained a police report and “events report” from the Palm Beach County Sheriff,

  contacted Plaintiff’s PIP adjuster, sent the insureds “other insurance” affidavits and excess

  exposure letters, and advised Mr. Brown to retain an attorney.

         In addition, Defendant’s claims adjuster, Ms. Edwards, called Plaintiff’s counsel five

  separate times, left multiple messages, and requested several call backs, but never received the

  same. Notwithstanding its inability to communicate with Plaintiff’s counsel, on March 4, 2010,

  just thirty-two days after having learned of the accident, Liberty Mutual sent Plaintiff’s counsel a

  letter stating that it would be tendering its full policy limits and advising that a global settlement

  conference would be arranged to apportion the same.

          In response, Plaintiff’s counsel waited almost one month, until March 31, 2010, to reject

  Liberty Mutual’s offer to settle Plaintiff’s wrongful death claim. This one-month time frame,

  coupled with the first month of Liberty Mutual’s investigation, forms the basis of Plaintiff’s claim

  for unreasonable delay. While Plaintiff argues that Liberty Mutual “delayed settling this known

  catastrophic claim for 66 days,” Pl.’s Opp’n [ECF No. 45] at 11, Plaintiff ignores the fact that her

  counsel did not return Defendant’s calls for an entire month and subsequently sat on Defendant’s

  settlement offer for a month before rejecting it in favor of a bad faith claim. As the First Circuit

  stated in Peckham v. Continental Casualty Insurance Co., 895 F.2d 830 (1st Cir. 1990):



                                              Page 8 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 9 of 13



                  [T]he justification for bad faith jurisprudence is as a shield for
                  insureds—not as a sword for claimants. Courts should not permit
                  bad faith in the insurance milieu to become a game of cat-and-mouse
                  between claimants and insurer, letting claimants induce damages
                  that they then seek to recover, whilst relegating the insured to the
                  sidelines as if only a mildly curious spectator.

  Id. at 835. Here, even under the most favorable construction of the facts, the Court cannot ignore

  Plaintiff’s counsel’s hand in manufacturing the delay Plaintiff now complains about. The Court

  will not tolerate the use of bad faith claims as a sword for claimants in insurance litigation.

          More importantly, the evidence in this case demonstrates that no reasonable jury could find

  Defendant did not act with the “same degree of care and diligence as a person of ordinary care and

  prudence” would exercise in the management of their own affairs. Harvey, 259 So.2d at *10.

  After learning of the accident, Defendant diligently investigated a potential coverage issue, sought

  out police and events reports, contacted and advised its insured, and offered, within thirty-two

  days, to settle all claims by tendering its fully policy limits in compliance with Powell. Defendant

  did so in the absence of a specific demand from Plaintiff and without any indication that might

  suggest urgency in the resolution of Plaintiff’s claim. See Valle, 394 F. App’x at 557 (noting that

  although Florida law does not require a formal settlement demand in a bad faith action, such a

  demand would indicate to defendant that its efforts at obtaining a global settlement might increase

  the insured’s exposure to liability). Indeed, Defendant’s diligence was undeterred by Plaintiff’s

  counsel’s repeated refusal to communicate with Defendant during the investigative process. In

  sum, the facts, when viewed in the light most favorable to Plaintiff, support the contention that, at

  most, Liberty Mutual delayed in offering to settle Plaintiff’s wrongful death claim by thirty-two

  days while it conducted an investigation. Such delay is not unreasonable. See Clauss, 523 So. at

  1178 (stating that a “one-month period to verify [a] claim was not excessive, and certainly does

  not rise to the level of bad faith”).


                                               Page 9 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 10 of 13



           Further, it defies common sense to argue—as Plaintiff does—that Liberty Mutual was

   required to settle Plaintiff’s wrongful death claim, as the most severe claim, before engaging in a

   global settlement conference with the remaining claimants. “There is no duty under Florida law

   for an insurer in a multiple competing claimant situation to immediately tender a full split limit to

   the most injured victim, even where the insurer knows, and the other claimants agree, which victim

   is the ‘most injured.’” Houston v. Progressive Am. Ins. Co., No. 8:13-CV-194-T-35AEP, 2014

   WL 12576820, at *5 (M.D. Fla. May 19, 2014). Plaintiff does not cite—and the Court is unaware

   of—any authority requiring an insurance company to immediately tender its full policy limits to

   the most injured claimant and forgo an investigation, or global settlement conference with the

   same. In fact, the opposite is true. Florida law instructs that where multiple claims arise out of a

   single accident, an insurer has the discretion to elect how to settle the claims, bound only by a duty

   to act reasonably and in good faith. See Farinas v. Fla. Farm Bureau Gen. Ins. Co., 850 So. 2d

   555, 561 (Fla. 4th DCA 2003). As such, an insurer “must investigate the facts, give fair

   consideration to a settlement offer that is not unreasonable under the facts, and settle, if possible,

   where a reasonably prudent person, faced with the prospect of paying the total recovery, would do

   so.” Boston Old Colony, 386 So. 2d at 785.

           In Valle, a case with analogous facts to the instant litigation, the Eleventh Circuit affirmed

   the district court’s grant of summary judgment and rejected Plaintiff’s contention that an insurer

   acted in bad faith when it failed to immediately settle the wrongful death claim resulting from an

   accident that injured eight other people. Valle, 394 F. App’x at 555. There, as here, the insurer

   sent a letter to all claimants expressing a willingness to settle for the full policy limit and requesting

   that all claimants participate in a global settlement conference. In granting summary judgment for

   the insurer, the district court noted that defendant’s suggestion that the parties work out a global



                                                 Page 10 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 11 of 13



   settlement, rather than immediately offer its policy limit to the wrongful death claimant, did not

   amount to bad faith given the number of parties involved and the insurer’s uncertainty as to the

   appropriate distribution of the remainder of the policy. See Valle v. State Farm Mut. Auto. Ins.

   Co., No. 08-22117-CV, 2010 WL 5475608, at *3 (S.D. Fla. Jan. 15, 2010), aff'd sub nom. Valle v.

   State Farm Mut. Auto. Ins. Co, 394 F. App’x 555 (11th Cir. 2010).

           Like Valle, this case was complex and involved multiple parties and competing claims. An

   infant was killed, and four people were injured, including two additional children, one of whom

   was ejected from the vehicle, sustaining head trauma. Under these circumstances, a reasonable

   juror could not find that Defendant’s decision to exercise its discretion and proceed to a global

   settlement conference evinces bad faith. On the contrary; such a decision was properly motivated

   by a desire to determine the proper apportionment of policy limits and avoid “indiscriminately

   settling selected claims,” thereby extinguishing any notion that Liberty Mutual put its interests

   ahead of its insureds. 3 See Farinas, 850 So. 2d 559 (internal citations omitted); see also Mesa,

   799 F.3d at 1360 (noting that defendant’s decision to pursue a global settlement, where there were

   multiple claimants involved, was consistent with defendant’s duty of good faith under Florida law).

           The fact that Liberty Mutual could, but chose not to, settle Plaintiff’s wrongful death claim

   before any other claim, does not, standing alone, demonstrate that Defendant acted in bad faith.

   In the absence of evidence suggesting that Defendant’s decision to pursue a global settlement

   conference was unreasonable, no jury could conclude that in exercising its discretion Liberty

   Mutual breached its duty to act in good faith. Put simply, Plaintiff’s suggestion that Florida’s bad


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     The Court is unpersuaded by Plaintiff’s attempt to distinguish Valle by arguing that Plaintiff’s counsel
   advised Liberty Mutual that it would not discuss the wrongful death claim as part of the global settlement
   conference, rather than actively participating to settle the wrongful death claim before rejecting the offer.
   This temporal difference does not bear on whether, as a matter of law, a reasonable fact-finder could
   determine that Liberty Mutual breached its duty of good faith by pursuing a global settlement conference
   that included Plaintiff’s wrongful death claim.

                                                  Page 11 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 12 of 13



   faith jurisprudence requires an insurer to immediately tender its policy limits to the most injured

   claimant is wrong. No such duty exists under Florida law and the Court will not impose an

   inexistent duty on Defendant.

                                                 CONCLUSION

           As required by Harvey and Florida’s bad faith jurisprudence, Liberty Mutual diligently

   investigated the numerous potential claims arising out of this multi-car accident. Liberty Mutual

   attempted to minimize any possible excess judgment by diligently investigating the claims and

   offering to tender its full policy limits within thirty-two days of learning of the accident. When

   Plaintiff rejected Defendant’s attempt to arrange a settlement conference, Liberty Mutual tendered

   its full policy limits. Defendant did this in the absence of a specific demand from Plaintiff and in

   spite of the fact that Plaintiff’s counsel had refused to communicate with Defendant the month

   prior. Moreover, there is no evidence to suggest that the insureds were not adequately informed

   throughout the investigative process.4 On this record, no reasonable jury could conclude that

   Liberty Mutual acted in bad faith. Accordingly, it is




   4
     Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment [ECF No. 45] in several instances
   suggests, without any record citations, that Liberty Mutual failed to apprise the insured of its investigations.
   The Court will not parse a summary judgment record to search for facts or evidence not brought to its
   attention. See Atlanta Gas Light Co. v. UGI Utilities, Inc., 463 F.3d 1201, 1209, n. 11 (11th Cir. 2006).
   Notwithstanding the same, the Court notes that on February 2, 2010, the day after Liberty Mutual learned
   of the accident, Defendant sent its insured excess exposure letters, stating that its investigation suggested
   Mr. Brown had exposure in excess of his policy limit and advising the same to retain counsel. See Letter
   Dated February 2, 2010 [ECF No. 34-4]. In addition, on March 2, 2010, Liberty Mutual sent another set of
   excess exposure letters to the insured, requesting that Mr. Brown’s personal attorney contact Liberty Mutual
   to take the steps “necessary to fully protect” his interests in light of his excess exposure. See Letter Dated
   March 2, 2010 [ECF No. 34-12]. In sum, Plaintiff points to no evidence to suggest Liberty Mutual failed
   to keep its insured apprised of its investigation, and the record suggests otherwise.


                                                   Page 12 of 13
Case 9:18-cv-80788-RAR Document 67 Entered on FLSD Docket 07/23/2019 Page 13 of 13



         ORDERED AND ADJUDGED that Defendant’s Motion for Summary Judgment [ECF

   No. 35] is GRANTED. Final judgment for Defendant will be entered by separate order. The

   Clerk of Court is directed to CLOSE this case. Any pending motions are DENIED as moot.



         DONE AND ORDERED in Fort Lauderdale, Florida, this 23rd day of July, 2019.




                                                    RODOLFO RUIZ
                                                    UNITED STATES DISTRICT JUDGE




                                          Page 13 of 13
